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6                          UNITED STATES DISTRICT COURT, WESTERN
7
                             DISTRICT OF WASHINGTON AT TACOMA

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10             UNITED STATES OF AMERICA,
               Plaintiff,
11                                                           NO. CR05-5208FDB
12               v.
                                                             ORDER GRANTING MOTION
13             JOSE GALEANA,                                 TO EXCUSE DEFENDANT
               Defendant.                                    JOSE GALEANA
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18                    Upon the motion of defendant Jose Galeana to excuse the presence
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          of defendant and his counsel from the hearings scheduled for July 13, 2005
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          at 9:00 a.m., the Court finds that this motion would serve the ends of
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          justice and the due administration of law, and therefore,
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23
                      //

24                    //

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26


                                                                      LAW OFFICES
          ORDER GRANTING STIPULATED
                                                                 MARY KAY HIGH
          MOTION TO EXCUSE - 1                                 109 TACOMA AVENUE NORTH
                                                              TACOMA, WASHINGTON 98403
          []                                                          (253) 572-6865
     Case 3:05-cr-05208-FDB        Document 69      Filed 07/12/05       Page 2 of 2




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                  IT IS HEREBY ORDERED that the defendant’s motion to be
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          excused is granted.
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                  DONE this 12th day of July 2005

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7                                                /s/ Franklin D Burgess        _
                                                 The Honorable Franklin Burgess
8
                                                 UNITED STATES DISTRICT
9                                                COURT JUDGE
          Presented by:
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          Mary Katherine High
12        Mary Kay High
          Attorney for defendant
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                                                                 LAW OFFICES
          ORDER GRANTING STIPULATED
                                                              MARY KAY HIGH
          MOTION TO EXCUSE - 2                              109 TACOMA AVENUE NORTH
                                                           TACOMA, WASHINGTON 98403
          []                                                       (253) 572-6865
